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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON DATA
  SERVICES, INC.,

         Plaintiffs,                                  CASE NO. 1:20-CV-484-RDA-TCB

         v.

  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS, et al.,

         Defendant.


  800 HOYT LLC,

         Intervening Interpleader Plaintiff /
         Intervening Interpleader Counter-
         Defendant,

  v.

  BRIAN WATSON, WDC HOLDINGS, LLC,
  and BW HOLDINGS, LLC,

         Interpleader Defendants

  AMAZON.COM, INC. and AMAZON DATA
  SERVICES, INC.

         Interpleader Defendants / Interpleader
         Counter-Plaintiffs.


   WATSON DEFENDANTS’ BRIEF IN SUPPORT OF MOTION FOR LEAVE TO FILE
               MULTIPLE SUMMARY JUDGMENT MOTIONS

         Defendants WDC Holdings LLC, Brian Watson, Sterling NCP FF, LLC, Manassas NCP

  FF, LLC, and NSIPI Administrative Manager (collectively, the “Watson Defendants”), intend to

  file a motion for partial summary judgment with respect to Plaintiffs Amazon.com, Inc. and

  Amazon Data Services, Inc.’s (collectively, “Plaintiffs”) claims for relief against the Watson

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  Defendants specifically relating to or involving the White Peaks Transaction, as defined or

  discussed in Paragraphs 218-243, 270-286, 367, 392, and 394 and Counts I, II, III, IV, V, VII, and

  VIII in the Third Amended Complaint (Dkt. 765). However, the Watson Defendants seek to

  reserve the right to file a potential additional (partial or otherwise) motion for summary judgment

  depending on what the remainder of discovery in this case reveals.

                                        RELEVANT FACTS

         Plaintiffs began an investigation into the conduct of the Watson Defendants and other

  defendants in late 2019. Since then, Plaintiffs have filed four separate complaints, each with

  hundreds of paragraphs of allegations that identify numerous individuals and entities as

  participants in an allegedly far-reaching kickback scheme. Plaintiffs have also obtained a highly

  punitive preliminary injunction requiring the Watson Defendants to escrow tens of millions of

  dollars. The Watson Defendants were unable to comply with that requirement because they did

  not (and still do not) have such funds. Thereafter, the Watson Defendants were found to be in

  contempt, and the Court appointed a receiver to take control of all of Mr. Watson’s personal and

  business assets. The receiver’s reports have thus far confirmed that the Watson Defendants do not

  have nearly enough funds to comply with the escrow requirement.

         Plaintiffs filed their most recent complaint on May 6, 2022, after representing to the Court

  that the amendment would streamline and expedite the resolution of claims. The Third Amended

  Complaint adds six new defendants and new claims, and still includes over five hundred

  allegations and spans over one hundred pages. Plaintiffs’ White Peaks-related allegations with

  respect to the Watson Defendants have changed over time, with the Plaintiffs most recently

  introducing a respondeat superior theory of liability. Plaintiffs have not yet served all of the new

  defendants.



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         To date, nearly all discovery among the original parties has been completed, including the

  depositions of 25 individuals or entities and the production of millions of pages of documents.

                                           ARGUMENT

         Pursuant to Local Civil Rule 56(C), a party shall not file separate motions for summary

  judgment addressing separate grounds “unless permitted by leave of Court.” Here, grounds exist

  for this Court to grant the Watson Defendants’ leave to file multiple summary judgment motions

  because a grant of partial judgment now with respect to the White Peaks Transaction as it applies

  to the Watson Defendants will simplify and streamline this case.

           I.    SUMMARY JUDGMENT IS UNIQUELY APPROPRIATE FOR THE
                 WHITE PEAKS-RELATED ALLEGATIONS.

         First, the White Peaks Transaction is distinct from the numerous “Lease Transactions,” as

  defined by Plaintiffs in Paragraph 92 of the Third Amended Complaint. The Lease Transactions

  were nine build-to-suit data center leases entered into by Plaintiffs and the Watson Defendants.

  Plaintiffs discuss the Lease Transactions over at least 18 pages in their Third Amended Complaint.

  The White Peaks Transaction, on the other hand, is one transaction with wholly different facts,

  including that it involved a direct land sale to Amazon. The White Peaks Transaction is described

  in less than 10 pages of the Third Amended Complaint. There are no parallels or similarities

  between the Lease Transactions and the White Peaks Transaction as they relate to the Watson

  Defendants.

         Importantly and curiously, Plaintiffs are doubling down on their incredulous claims

  connecting the Watson Defendants to the White Peaks Transaction despite significant

  documentary evidence and sworn deposition testimony to the contrary. Specifically, Plaintiffs

  boldly mischaracterize the approximately $5 million payment that the Watson Defendants

  accepted as part of a settlement following a confidential mediation with former Colorado Supreme

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  Court Chief Justice Nancy Rice regarding the usurpation of a corporate opportunity as a

  “kickback.” Moreover, Plaintiffs assert that the Watson Defendants are liable under a theory of

  respondeat superior for that usurpation merely because one of the former employees used a

  Northstar email address to engage in correspondence regarding the White Peaks Transaction. Yet

  deponent after deponent, including some of the alleged main actors involved in the White Peaks

  Transaction, have confirmed that the Watson Defendants had no involvement whatsoever in the

  White Peaks Transaction. This is consistent with the position the Watson Defendants have asserted

  since the very beginning of this case—Plaintiffs have misunderstood or deliberately

  mischaracterized the Watson Defendants’ involvement in the White Peaks Transaction.

           II.   THIS UNUSUAL, COMPLEX CASE IS PARTICULARLY WELL-
                 SITUATED FOR THE PRESENTATION OF MULTIPLE SUMMARY
                 JUDGMENT MOTIONS.

         Second, this is a sprawling, complicated case, as evidenced by the fact that Plaintiffs

  amended their complaint for the third time and it still contains 562 paragraphs. Because of this

  latest amendment, which included the addition of new defendants, there is no trial date. The

  Watson Defendants objected to that amendment on the basis of undue delay and prejudice, among

  other grounds. With that amendment granted, the Watson Defendants anticipate a trial occurring

  no sooner than early 2023, and likely later than that. This is devastating for the Watson

  Defendants, who are eager to get to trial on the merits, clear their names and restore their

  reputations, and have finite resources to defend themselves. They have been fighting an uphill

  battle ever since the Court ordered the preliminary injunction. Plaintiffs, on the other hand, appear

  to be in no rush, instead hoping to wear the Watson Defendants and the other defendants down by

  attrition. It is not a stretch to suggest that the Watson Defendants feel as if they are David fighting

  Goliath every hour of every day.



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         In short, if any case needs to be simplified or streamlined, it is this one. The Watson

  Defendants firmly believe that filing a summary judgment motion on the White Peaks-related

  allegations presents one avenue to do just that. As this case proceeds, it will be a real challenge to

  decipher, digest, and litigate Plaintiffs’ various allegations to identify and resolve dispositive

  issues. Therefore, it will benefit the Watson Defendants, the other defendants in this matter, and

  the interests of justice to permit this independent issue, for which there is a developed discovery

  record, to be resolved now, rather than later. Simply put, the Watson Defendants have waited long

  enough, and all parties would benefit from this case being winnowed down as much as possible,

  as early as possible.

         To preserve the Watson Defendants’ ability to consider summary judgment on the

  numerous other claims asserted in Plaintiffs’ Third Amended Complaint, the Watson Defendants

  request that the Court permit the Watson Defendants to file an additional summary judgment

  motion in the future, should it be necessary.

                                            CONCLUSION

         For the foregoing reasons, the Watson Defendants respectfully request that they be

  permitted to file in the future an additional motion for summary judgment on other dispositive

  issues, in addition to the one they plan to file with respect to Plaintiffs’ claims for relief against

  the Watson Defendants relating to or involving the White Peaks Transaction.




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  Dated: June 14, 2022                     Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on June 14, 2022, I will electronically file the foregoing using the Court’s
   CM/ECF system, which will provide service to all counsel of record, and will separately email pro
   se parties, as follows:

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   * I further certify that I will mail the aforementioned materials via First-Class Mail to Mr.
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